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             IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:02CR176
                              )
          v.                  )
                              )
RAYMOND JOHN OTERO, now known )                   ORDER
as RAYMOND MENDOZA,           )
                              )
               Defendant.     )
______________________________)


           This matter was before the Court for final

dispositional hearing.      Defendant appeared with counsel, Glenn

Shapiro.   Plaintiff was represented by Assistant United States

Attorney, Maria Moran.

           Defendant had previously admitted the three allegations

contained in the petition for warrant or summons for offender

under supervision.      Based upon defendant’s admission, the Court

finds defendant has violated the terms and conditions of his

probation.    Accordingly

           IT IS ORDERED:

           1) Defendant is committed to the custody of the Bureau

of Prisons for a term of twenty-four (24) months, said term to

run consecutively to the term of imprisonment imposed in

8:06CR209.
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           2) At the conclusion of said term of imprisonment, no

supervised release will follow.

           DATED this 6th day of February, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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